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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BEARING BROKERS, INC.,                        )
                                              )
               Plaintiff,                     )       10 C 5500
                                              )
               v.                             )
                                              )       Judge Manning
GADDIS, INC.,                                 )       Magistrate Judge Cole
and JOHN DOES 1-10,                           )
                                              )
               Defendants.                    )

                     PLAINTIFF’S UNOPPOSED MOTION TO STAY ALL
                    PENDING DEADLINES DUE TO CLASS SETTLEMENT

               Plaintiff Bearing Brokers, Inc. respectfully requests that this Court stay all

pending deadlines due to the parties’ class settlement agreement. In support thereof, plaintiff

states:

               1.      On June 2, 2011, the parties in the above-captioned case reached a class

settlement in principal. The agreement has not yet been reduced to writing. Plaintiff anticipates

filing a motion for preliminary approval after the parties have executed a mutually agreeable

settlement agreement and release. The proposed class action settlement will resolve the entire

case.

               2.      Accordingly, plaintiff requests that this Court stay all pending deadlines

entered on January 27, 2011 [Dkt. No. 43], April 18, 2011 [Dkt. No. 57], and any other deadlines

previously set by this Court, due to the parties’ pending class action settlement.

               3.      Plaintiff has discussed this motion with counsel for defendant, and

defendant does not oppose this motion.


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               4.      This motion is not filed for purposes of delay.

               WHEREFORE, plaintiff respectfully requests that this Court stay all pending

deadlines due to the parties’ class action settlement.


                                              Respectfully submitted,

                                                s/ Heather Kolbus
                                              Heather Kolbus

Daniel A. Edelman
Heather Kolbus
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Chicago, IL 60603
(312) 739-4200
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                                 CERTIFICATE OF SERVICE

               I, Heather Kolbus, certify that on June 3, 2011, I caused a true and accurate copy
of the foregoing document to be served upon the parties listed below through the Court’s
CM/ECF system:

       Eric S. Mattson
       emattson@sidley.com

       Alison V. Potter
       apotter@sidley.com

                                                s/ Heather Kolbus
                                              Heather Kolbus

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